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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNES§EE°R l 9 fm 9 dr
WESTERN DIVISION

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CLEF!K. U.S. DE e`. OT.
W.D. OF TN, PAEi\APHlS

MARILYN JOHNSON, et al.,

Plaimiffs, ease NO. 00-2603 DP ‘/
&
04-2017 DP
VS.
cer oF MEMPHIS,
Defendant.

FLORENCE BILL[NGSLEY, et al.,

PIaintiffs, Case No. 04-2013 D An
vs.

CITY OF MEMPHIS,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’S Motion to Strike Rebuttal Report of Plaintiffs’ Expert or,
Altematively, Motion t0 Extend Time to Respond to Rebuttal Report filed on March 9, 2005, in this
case.

This matter is hereby referred to the United States Magistrate Judge for a Deterrnination.

Any exceptions to the Magistrate Judge’s order shall be made by motion Within ten (10) days of the

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order. Further, all exceptions shall be stated With particularity

 

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NITED STATES DISTRICT \\QDGE

 

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This notice confirms a copy of the document docketed as number 332 in
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Honorable Bernice Donald
US DISTRICT COURT

